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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America

     v.                                     2:19-cr-242

Keith Darnell O’Kelly

                                    ORDER
     There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Doc. 60) that the
defendant’s guilty pleas be accepted.               The court accepts the
defendant’s pleas of guilty to Counts 1 and 2 of the superseding
information, and he is hereby adjudged guilty on those counts. The
court will defer the decision of whether to accept the plea
agreement until the sentencing hearing.


Date: September 24, 2021                s\James L. Graham
                                  James L. Graham
                                  United States District Judge
